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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

JOHN FORD                                     *       CIVIL ACTION NO: 16-742
                                              *
v.                                            *       JUDGE BRIAN A. JACKSON
                                              *
DeRAY McKESSON                                *       MAGISTRATE JUDGE
                                              *       RICHARD L. BOURGEOIS, JR.
******************************************************************
                 OPPOSITION TO MOTION FOR SUMMARY JUDGMENT

MAY IT PLEASE THE COURT:

       As shown below, Officer Doe is able to show that DeRay McKesson incited violence

through confrontation with police necessitating a use of force by ordering protesters into

the street and leading them to I-12 on Airline Hwy in violation of state law. The pattern of

violence at BLM protests across the country rendered the probability and foreseeability of

injury to a police officer at the Baton Rouge protest both expected and intended. The Fifth

Circuit, Doe v. Mckesson, 71 F.4th 278, 285 (5th Cir. 2023), f ound:

              Under the allegations of fact set forth in the plaintiff’s federal district
       court petition, it could be found that Mr. Mckesson’s actions, in provoking
       a confrontation with Baton Rouge police officers through the
       commission of a crime (the blocking of a heavily traveled highway,
       thereby posing a hazard to public safety), directly in front of police
       headquarters, with full knowledge that the result of similar actions
       taken by BLM in other parts of the country resulted in violence and
       injury not only to citizens but to police, would render Mr. Mckesson
       liable for damages for injuries, resulting from these activities, to a
       police officer compelled to attempt to clear the highway of the
       obstruction. [Emphasis added]

       Here, DeRay McKesson claims that Officer John Doe, John Brad Ford, is unable to

show that on July 9,2016, McKesson incited other protestors to violence against police

during the Baton Rouge protest/riots. [R 109-2]. The Fifth Circuit, 71 F.4th at, 288,1 found:

       The origin of Doe’s negligence claim is Louisiana Civil Code article 2315.
       That article provides, “Every act whatever of man that causes damage to
       another obliges him by whose fault it happened to repair it.” Within that body
       of tort liability, Louisiana has adopted a “duty-risk” approach to negligence.

   1
     “In the prior panel opinion, we set forth our understanding of Louisiana state law as
applied to this case. Mckesson, 945 F.3d at 826–28. The Supreme Court of Louisiana
expressly incorporated that portion of our decision in its opinion on certification. Mckesson,
339 So. 3d at 530–33. We hereby reiterate our prior holding.” McKesson, 71 F.4th at 288.
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       Under that approach, a plaintiff must prove five elements: “(1) the plaintiff
       suffered an injury; (2) the defendant owed a duty of care to the plaintiff; (3)
       the duty was breached by the defendant; (4) the conduct in question was the
       cause-in-fact of the resulting harm; and (5) the risk of harm was within the
       scope of protection afforded by the duty breached.” Mckesson, 945 F.3d at
       826 (collecting Louisiana authority).

I.     Plaintiff suffered an injury

       Officer John Doe, John Bradley Ford, testified that he could not continue his

employment as a police officer due to the head injuries he sustained which necessitated

continual dental treatments and resulted in his seeing black spots and lines in his vision.

His injuries are both serious and permanent. Among other injuries, he had a concussion.

Ford at 6, lns. 9-20. John Brad Ford, Officer Doe, at pg 53, ln. 23 - pg. 54, ln. 4 as follows:

Q.     Okay. So tell me about the injury. You were hit in the head. Do you know what you
       were hit with?

A.     Well, it tasted like a piece of asphalt-type grainy, you know, substance. It was a
       hard either rock or some type of asphalt.

       Ex 1: John Brad Ford, Officer Doe, at pg 55, ln. 5 - ln. 22, as follows:

A.     I had several teeth in the front, some were broken completely out, some were
       broken in half, and I think some were pushed up, like, towards the roof of my mouth,
       so he just repaired what he could repair that night and then we ended up doing like
       a, I think it's called a bridge. I don't know all the technical terms of what he did, but
       he just fixed my teeth a little bit for me that night.
Q.     Okay. All right. And I take it you probably -- did you have some other dental work
       you had to have done after that?
A.     Yes, sir. I think I did total like 18 hours in a chair.
Q.     Okay. Okay. And then you said you were also -- were you also diagnosed with a
       concussion?
A.     Yes, sir.

       Ex 1: John Brad Ford, Officer Doe, at pg 57, ln. 11 - ln. 24, testified as follows:

A.     I remember my lip was cut. My tongue was cut. The inside of my cheek had a cut.
       Of course, the broken teeth and stuff and the concussion.
                                               ****
A.     Yes, sir. My vision is my biggest complaint. Well, my vision and my PTSD, I believe.
       But my vision is -- is -- I still see the dots and the black marks and those squiggly
       clear lines, like, look kind of like bubbles almost, but, I mean, that's the best way
       I can explain it.

       Although Mr. Ford gave lengthy testimony on his injuries, Mr. McKesson is not

disputing that Officer Doe was injured.

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II.         Defendants owed a duty of care

            The Fifth Circuit, McKesson, 71 F.4th at 288, found:

            The parties disputed whether Louisiana law recognizes a duty in these
            circumstances. In the course of that dispute, we understood the duty at issue
            as follows: “a duty not to negligently precipitate the crime of a third party.”
            Mckesson, 945 F.3d at 827. The existence of a legal duty is a question of
            state law, and the Supreme Court of Louisiana expressly concluded that
            such a duty exists in the circumstances presented here. Mckesson, 339 So.
            3d at 533. The threshold question having been answered, the only remaining
            issue is whether Doe has plausibly stated this form of a negligence claim. As
            before, we conclude that he has. Doe has plainly alleged that he suffered an
            injury.

            Mr. McKesson is no longer disputing that he owed a duty.

III.        The duty was breached

            McKesson disputes that he breached his legal duty. Here, McKesson led the

protestors to block the public highway, Mckesson, 71 F.4th at 289, which would be his own

negligent, illegal action (not speech or advocacy),and the ‘but for” cause of the police

confrontation. Here, McKesson incited the confrontation with police and ensuing use of

force by police in making arrests. McKesson was aware of the property damaged during

the protest.2 Here, the crowd was already throwing objects at police and had been doing

so all day, when McKesson lead them onto the highway. Moreover, the pattern of BLM

protests throughout the country set the stage for police being injured during the

confrontation. McKesson well knew the history of police confrontations during BLM

protests. The Fifth Circuit McKesson, 71 F.4th at 288, found:

            He has also plausibly alleged that Mckesson breached his duty in the course
            of the latter’s organizing and leading the Black Lives Matter protest at issue
            here. First and foremost, Doe alleged that Mckesson planned to lead the
            demonstrators onto Interstate 12, despite the fact that blocking a public
            highway is a crime under Louisiana law. La. Stat. Ann. § 14:97. As we
            explained before, that act supports the contention that Mckesson breached
            his duty of care as to Doe:

                   It was patently foreseeable that the Baton Rouge police
                   would be required to respond to the demonstration by

       2
           Ex 2: McKesson, at 97 ln. 19.
                                                  3
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               clearing the highway and, when necessary, making arrests.
               Given the intentional lawlessness of this aspect of the
               demonstration, Mckesson should have known that leading the
               demonstrators onto a busy highway was likely to provoke
               a confrontation between police and the mass of
               demonstrators, yet he ignored the foreseeable danger to
               officers, bystanders, and demonstrators, and notwithstanding,
               did so anyway. Mckesson, 945 F.3d at 827.

        Relying upon the Louisiana Supreme Court decision, the Fifth Circuit found that

Mckesson’s participation in numerous other Black Lives Matter protests in which

demonstrators blocked public highways, and in which police officers were injured was

significant. Here, the evidence is overwhelming that McKesson was well aware that BLM

protest after protest were held blocking access to public right of ways and officers were

repeatedly injured.3 The Fifth Circuit, relying on Louisiana law found, that -

        Doe also alleges that Mckesson regularly gave orders to the protestors
        and directed their activity. To be sure, Doe does not allege that
        Mckesson directed the unidentified assailant to throw the heavy object,
        or that he directed the protesters to loot the grocery store and throw
        water bottles at the assembled police officers. But the fact that those
        events occurred under Mckesson’s leadership support the assertion
        that he organized and directed the protest in such a manner as to
        create an unreasonable risk that one protester would assault or batter
        Doe. [Emphasis added]

        McKesson does not dispute that injuries to a police officer attending the Baton

Rouge Protest were not foreseeable.

        A.     McKesson participated in hundreds of protests in City Streets

        McKesson frankly admitted that he had participated in hundreds of protests, that he

had been tear gased multiple times, almost daily.4 As early as 2015, he knew that

protestors blocking city streets and businesses was eliciting a police response.5 He

   3
     See e.g., Ex 2: McKesson at 10, ln. 7 - Page 11, ln. 15; at 12, ln. 25-Page 13, ln2 and
lns. 21-22; at 14, ln. 19-Page 15, ln. 7; at 31 ln. 17; at 37, lns. 15-16; at 41, ln. 10 - Page
43, ln. 12; 43, ln. 24, ln. 24-44, ln. 5; at 93, ln. 17-Page 94, ln. 23; at 95, ln. 9-17; at 96, lns.
11-14; at 99, ln. 14 and 22-25.
   4
       Ex 2: McKesson at 45, ln. 4-8, 24-25.
   5
       See Ex 2: McKesson, at 43, ln 24 - Page 44, ln. 5.
                                                 4
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continually saw violence and protestors blocking streets, businesses and highways.6 He

was aware of the property damage in Baton Rouge during that protest. 7

         Mr. Mckesson objects to Interrogatory No. 3 because he has attended
         hundreds of protests, and all of these protests are not relevant to the
         claims and defenses in this matter and are not proportional to the needs of
         the case, which involves a single protest in Baton Rouge on July 9, 2016.
         Subject to these objections, Mr. Mckesson has attended hundreds of
         protests to bring awareness to unjust killings by police.8

         In one instance, Mr. McKesson protested in Ferguson for four hundred days.9 The

protesters were blocking streets and roads and businesses and McKesson frequently

witnessed police using force in response to the protesters. 10

         B.     McKesson aware that prior BLM protest were violent

         Not was McKesson aware of the BLM violence, but he endorsed the need for

violence. During the April 20, 2015, interview with Wolf Blitzer of CNN, McKesson refuses

to disclaim or renounce the ongoing violence at BLM protests. 11

         From 2014 - 2016, BLM protestors were collecting bond money in advance of

protests arrests.12 McKesson was well acquainted with BLM protests, violence, and

arrests.13 As early as 2014 and 2015, McKesson knew that protestors blocking streets and

   6
        See Ex 2: McKesson, at 41, ln. 10 - Page 43, ln. 12.
   7
        See Ex 2: McKesson, at 97, ln. 19
    8
       See Ex 26, McKesson Responses to Interrogatories and Requsts for Production,
Interrogatory Response No. 3, at 4.
   9
        Ex 2: McKesson, at 37-38.
   10
        Ex 2: McKesson, at 41-42.
  11
     See Ex 7 “Transcript” and Ex 22, Wolfe Blitzer interview and article Ferguson activist
perfectly schools Wolf Blitzer: “You are suggesting broken windows are worse than broken
spines.” Freddy Grey will never be back and those windows will be” Salon, 4/29/15.
   12
        Ex 2: McKesson, at 8, lns. 14 - page 10, ln. 4.
   13
      Ex 2: McKesson, 10, ln. 7 - page 11, ln. 15; Page 11, ln. 23 - Page 12, ln. 21; Page
12, ln. 23 - Page 13, ln. 2 and lns. 21-22; Page 14, lns. 19-25 (“Rocks being thrown”. . . at
officers); Page 15, ln 1-7 (“there was an encounter of the police and protesters at the bus
                                              5
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businesses was eliciting a police response.14 Although he had a twitter following of over

a quarter of a million at the time, McKesson claims he may not have been aware of the

Police ambush in Dallas at a BLM protest the day before (Thursday) that McKesson

(Friday) flew into Baton Rouge.15 The shooting that Thursday in Dallas was fueled by

anger at white officers for shooting young black men. Alton Sterling was a black man, who

on July 5, 2016, was shot by a white officer in Baton Rouge.16 McKesson flew to Baton

Rouge as the face of Black Lives Matter to lead the protest over the death of Alton Sterling.

At the same time, Black Lives Matter was holding protests in cities across the country

against police.17 Of the Alton Sterling protest, McKesson testified:

A.         I would go to any place that people asked us to come and I could make it so his
           killing was as horrific as the many other killings that I either amplified the cases or
           supported the families or supported the local organizers, so this one was no
           different.18

           C.     McKesson was a well known distinguished leader of BLM

           McKesson cannot deny that he established himself as a well known BLM leader and

the face of the movement.19

                 McKesson, now 36, is probably the best known activist of the Black
           Lives Matter era. From meetings at the White House to special-guest
           appearances at New York Fashion Week, Mckesson has been everywhere


station . . . protesters were throwing things at police.”); .
      14
           Ex 2: McKesson, at 43, ln 24 - Page 44, ln. 5.
      15
           Ex 2: McKesson, at 52 ln. 14-29 (of Dallas, “I do remember this happening.”)
     16
     Ex 23: Hundreds arrested as Black Lives Matter protests spread throughout America,
Alexander,             the        Telegraph            7.10.16.        See      also,
https://en.wikipedia.org/wiki/Killing_of_Alton_Sterling.
      17
       Ex 31: numerous protest across country. See e.g., Ex 2: McKesson at 10, ln. 7 -
Page 11, ln. 15; at 12, ln. 25-Page 13, ln2 and lns. 21-22; at 14, ln. 19-Page 15, ln. 7; at
31 ln. 17; at 37, lns. 15-16; at 41, ln. 10 - Page 43, ln. 12; 43, ln. 24, ln. 24-44, ln. 5; at 93,
ln. 17-Page 94, ln. 23; at 95, ln. 9-17; at 96, lns. 11-14; at 99, ln. 14 and 22-25.
      18
           Ex 2: McKesson, at 115, lns. 1-6.
      19
           See Ex 35: DeRay McKesson Wikipedia - face of movement.
                                                  6
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         spreading the gospel of wokeness - and signing lucrative book and video
         deals along the way. . . . That Mckesson has become one of the most
         prominent faces of the movement today seems like history repeating itself.20

Q        What was your -- did you have anything to do with Black Lives Matter Movement at
         all in your life time?
A        Yes.
Q        Tell us about that.
A        I was one of the people -- the people identify as one of the many leaders in the
         Black Lives Matter Pride Movement.21

         The other leaders he identified were Johnetta Elzie and Samuel Sinyangwe.22 As

the face of the movement, McKesson met with President Obama and Attorney General

Loretta Lynch.23 Besides his national reputation, by December 2015, McKesson was

known in the Baton Rouge Community as a leader of BLM.24 Thus, not only was McKesson

recognized nationally as the leader, he was recognized locally as the BLM leader and the

face of BLM.

         D.     McKesson organized and led the protest

         McKesson was not invited by the Alton Sterling family or its representatives and no

one from Baton Rouge asked McKesson to come to Baton Rouge. McKesson did not meet

with the Sterling family or any of its representatives, attend the funeral, and he was not

invited to attend the funeral.25 According to McKesson, local activist that he was unable to

name or otherwise identify reached out to his team, which prompted McKesson to notify

his followers to be in Baton Rouge at a certain date and place.

    20
      Ex 20: The Rise and Rupture of Campaign Zero How the founders of one of Black
Lives Matter’s most prominent organizations fell out, 1.31.22, at 620.
    21
         Ex 2: McKesson, at 33, ln. 24 - Page 34, ln. 2.
    22
         Ex 2: McKesson, at 34, ln. 23- Page 35, ln. 13; Page 34, lns. 23-24; Page 35, lns.
5-13.
    23
         Ex 2: McKesson, at 122, lns. 22-25.
    24
    Ex 33: The rise of Black Lives Matter: Rising movement often polarizing, Sidney and
Simon, brproud, 12/18/15.
    25
         Ex 2: McKesson, at 55, lns. 15-25. See also, 56, lns. 1-5.
                                               7
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Q          Now you said you met with some people in Baton Rouge.· Who were they?
A          I don’t know them.· They were local activists.
Q          Were you called to come to Baton Rouge?· Did somebody from Baton Rouge call
           you and ask you to come to Baton Rouge?
A          Call me?· No.
Q          Did anybody from the Alton Sterling family or representing the family call you to
           come to Baton Rouge?
A          Call me?· No.

           When McKesson was shown to have known so little about the Alton Sterling

shooting, his death, his funeral or his family and where he had no contact with the family

and showed no remorse for the death, his only objective for being in Baton Rouge with his

followers was to protest and harass the local police.26 McKesson used the death of Alton

Sterling as a vehicle to harass police. 27 Ex 1: Ford, at 79, ln 15, Page 80, ln. 18:

A.         You know, like, we also had a black pastor that came out and talked to the
           protesters by loudspeaker, we gave him a loudspeaker, and he was telling them to
           go home, too, but some of the protesters that I spoke with that were friendly, they
           just kept apologizing for all the out-of-towners. They said, this is not Baton Rouge
           way, this is not our way, we didn't want them here and we wanted them to leave and
           we asked them to leave and they wouldn't leave, and they, you know, told us that
           they planned on being violent.
Q.         Now, who's the "theys?" Who's the "theys" there?
A.         Talking about the Black Lives Matter people that were coming from out of town.
Q.         Told who what?
A.         That when the black -- the black guys that I was talking to at the protest, they're
           citizens of Baton Rouge.
Q.         Okay.
A.         They live there. They're local. And they were mixed in with the Black Lives Matter
           that was the out-of-town group --
Q.         Okay.
A.         -- that came there to protest. Matter of fact, they told me they got paid to come there
           and protest.

           Gary Chambers, the Sterling family representative, announced at the funeral, “If you

want to protest, please leave now.”28

           According to McKesson, there was an activist from Baton Rouge who tweeted and

     26
     At the same time, July 9, 2016, violent BLM protest was ongoing in St. Louis. Ex 21:
Officers injured as St. Paul Black Lives Matter Protest Turns Violent.
      27
           Ex 2: McKesson, at 114, ln. 23 - Page 117, ln. 3.
     28
     Ex 30: The St. Augustine Record, Killed by Police, Santana, 7.16.16. Gary Chambers
Sterling Family Representative and local activist - if you are here to protest - go home.
                                                  8
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by doing so reached out to his BLM team (McKesson, Elzie, Packnett and Sinyangwe) to

help organize the protest.29 McKesson then retweeted (“amplified”) the tweet of the

location and time of the protest to his hundreds of thousands30 of twitter followers:31

Q         Now you said somebody contacted your team. You recall that?
A         Yes.
Q         What did you do after your team was contacted?
A         Went to Baton Rouge.
Q         Okay, because in your answers to discovery32 you said that you notified others of
          the protest.
A         Oh, Twitter.· I amplified a message on Twitter about it.
Q         What did you say?
A         I amplified a message, so I retweeted a message.
Q         What was that message?
A.        I cannot look, so I don’t know.
                                             ****
Q         Okay and you provided the time and the place. Correct?
A         I believe I re-tweeted something that had the time and the place.· Yes.
Q         To your Twitter followers.· Correct?
A         Correct.33

          Accordingly, there were multiple out-of-state protestors in attendance. Staging a

protest on a public highway in front of a police station violated the reasonable time and

place prongs of the First Amendment. Flaunting illegal activity in front of a police station

was purposeful and intended to elicit a police response including arrests and other use of

force confrontations just as it had in many other BLM protests.

          E.     McKesson ordered protestors on to the highway

          McKesson ordered protesters on to the highway.34 An arrest, by its very nature, is

     29
          Ex 2: McKesson, at 57, lns. 13-23; Page 38, lns. 4-6.
     30
          Ex 2: McKesson, at 67, lns. 2-13.
     31
          Ex 2: McKesson, at 66, ln. 13 - Page 67, ln. 1.
     32
          Ex 26: McKesson Responses to Interrogatories, Interrogatory No. 5 at 5.
     33
          Ex 2: McKesson at 72, lns. 12-17.
     34
      “[W]e note that the criminal conduct allegedly ordered by Mckesson was not itself
protected by the First Amendment, as Mckesson ordered the demonstrators to violate
a reasonable time, place, and manner restriction by blocking the public highway. See
Clark v. Cmty. for Creative Non-Violence, 468 U.S. 288, 293, 104 S.Ct. 3065, 82 L.Ed.2d
                                                9
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a use of force. Mckesson led the protestors to block the public highway, Mckesson, 71

F.4th at 289, which would be his own negligent, illegal action (not speech or advocacy),and

the ‘but for” cause of the police confrontation.

        The location of the protest was the busy Airline Hwy in front of the Baton Rouge

Police Department on the corner of Goodwood Blvd and Airline. McKesson led protestors

down Airline Hwy to I-12 where they were turned around by police. McKesson was arrested

while provoking his own arrest35 so that he could live stream his arrest to his followers.36

        Despite holding a protest on a public highway and blocking the highway in front of

the BRPD, McKesson would claim it was the police who provoked protesters.37 The live

footage of DeRay McKesson38 shows him walking on the highway and being warned by

police to stay out of the lane of travel, but continuing to taunt police to trigger his own

arrest,39 which would be followed by an article in the New York Times fueling his own

notoriety. DeRay McKesson claimed, “What we saw in Baton Rouge was a police

department that chose to provoke protesters to create, like, a context of conflict they could

exploit.”40 During the arrest, the arresting officer is heard warning McKesson, in his red

shoes, to stay out of the lane of travel, making the arrest and then repeating, “City police.



221 (1984) (reasonable time, place, and manner restrictions do not violate the First
Amendment). As such, no First Amendment protected activity is suppressed by allowing
the consequences of Mckesson's conduct to be addressed by state tort law. Doe v.
Mckesson, 945 F.3d 818, 832 (5th Cir. 2019), cert. granted, judgment vacated, 141 S. Ct.
48, 208 L. Ed. 2d 158 (2020).
   35
        Ex 19 DeRay McKesson, Arrested in Baton Rouge, Is Released 7.10.16.
   36
        Ex 2: McKesson Livestream.
   37
        Ex 2: McKesson, at 64, lns. 9-11.
   38
        Ex 2: McKesson, at 59, lns. 16-25.
   39
        Ex X: Manual attachment of DeRay McKesson live streaming his own arrest.
   40
      Ex 14: DeRay Mckesson, Arrested While Protesting in Baton Rouge, Is Released.
7.10.16, New York Times.
                                              10
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You’re under arrest. Don’t fight me. Don’t fight me.” 41

            McKesson was a well known BLM leader.42 His protest chants were inspired by

Assata Shakur,43 who was convicted of slaying a state trooper and who fled justice and is

now a fugitive living in Cuba while remaining on the FBI’s most wanted list.44 In August

2015, both Mr. McKesson and Ms. Elzie, another team organizer, were identified in

Baltimore as “a threat of violence” as “Severity: HIGH” and “Threat Type: PHYSICAL.”45

INTERROGATORY NO. 5:46
How did you learn of and notify others of the protest or demonstration?
ANSWER TO INTERROGATORY NO. 5:
Mr. Mckesson objects to Interrogatory No. 5 as vague. To the extent that Interrogatory No.
5 seeks information about every protest that Mr. Mckesson attended, Mr. Mckesson also
objects to Interrogatory No. 5 as irrelevant to the claims and defenses in this matter and
disproportional to the needs of the case, which involves a single protest in Baton Rouge
on July 9, 2016. Subject to these objections, Mr. Mckesson learned of the July 9, 2016
protest in Baton Rouge through social media and posted about the protest on
Twitter.

ANSWER TO INTERROGATORY NO. 7:47
Mr. Mckesson was in Baton Rouge, Louisiana on July 9, 2016 to protest the killing of Alton
Sterling by police and to bring awareness to unjust killings by police. Mr. Mckesson learned
about the protest on Twitter. Mr. Mckesson posted on Twitter that he would be

   41
      Ex 14: DeRay Mckesson, Arrested While Protesting in Baton Rouge, Is Released.
7.10.16, New York Times.
  42
      Ex 2: McKesson at 68, lns. 4-16 (t.v. documentary on 3.26.2016 “Stay Woke and the
BLM Movement.” Others in documentary were Felicia Garza, Patrisse Cullors, Johnetta
Elzie and Brittany Packnett.). Ex 14: DeRay Mckesson, Arrested While Protesting in Baton
Rouge, Is Released. 7.10.16, New York Times (“one of the best known voices for the Black
Lives Matter movement”).
   43

https://www.theguardian.com/books/2014/jul/13/assata-shakur-civil-rights-activist-fbi-mo
st-wanted#:~:text=Assata%20Shakur%3A%20from%20civil%20rights%20activist%20to
%20FBI%27s%20most%2Dwanted
   44
            Ex 2: McKesson, at 20, lns. 6-24.
       45
        Ex 2: McKesson, at 25, ln. 8 - Page 26, ln. 25. Ex 15: FBI Hired Social Media
Surveillance Firm that Labeled Black Lives Matter Organizers “Threat Actors.” Ex 27:
ZeroFox, at page 7. Ex 32: FBI Hired Firm that Labeled BLM Leaders “Threat Actors.”
   46
            See Ex 26, Interrogatory Response No. 5, at 5.
   47
            See Ex 26, Interrogatory Response No. 7, at 6.
                                                  11
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attending the protest. [Emphasis added]

          Officer John Doe, John Brad Ford, testified that the police had multiple briefings

prior to the BLM protestors descending upon Baton Rouge. Paramount to their concerns

was the recent ambush of officers in Dallas during a BLM protest on Thursday. Two days

before the Saturday protest in Baton Rouge, several officer were shot and killed during a

BLM protest in Dallas where BLM protesters flooded the streets triggering police

response.48 Mr. Ford explained:49

Q.        Now, did the Dallas shooting of 12 officers just days before this, did that have any --
          it was at a Black Lives Matter protest. Did that play any role in the actions of the
          Baton Rouge police or the -- the -- the actions that they felt they needed to take in
          the face of this particular protest?
A.        Yes, ma'am, I'm sure it did. I know that we -- we set up a lot of different types of
          barricades anticipating the violence, and we had a lot of medical personnel on staff,
          and we were anticipating that we could actually have some shootings during the
          protest. And then when we were told that the New Black Panther Party was armed
          and when we saw them armed, we kind of figured we was going to, you know, have
          some shootings because of it.
Q.        Were you in fear for your life?
A.        Yes, ma'am.
                                                ****
A.        Basically we was informed that because of the shootings that we were going to have
          Black Lives Matters coming from several states. We were told that DeRay
          McKesson was a Black Lives Matter leader and that they were coming to Baton
          Rouge to try to get a response from the police department, and that it would
          probably be violent and, you know, that was his track record everywhere that he
          went, it was a violent protest, so it was preparing for the worst pretty much.50

          The Declaration of Captain Wiedeman confirms the dangers faced by the Baton

Rouge Police due to the out-of-state protestors descending upon the city.51



     48
       Ex 24: Video Dallas Protest July 7, 2016, posted on July 8, 2016 and Chaos in St.
Paul =>Police Injured After #BlackLivesMatter Attacks Cops with Rocks, Rebar, Bottles,
Fireworks, Molotov Cocktails, July 9, 2016; Ex 34: Dallas Police ‘Ambush’=>12 Police
officers Shot, 5 Killed During Protest. July 7, 2016. Ex 31: Hundreds arrested in protests
over shootings by police.
     49
          Ex 1: Ford, at 83, lns. 3 - 23
     50
          Ex 1: Ford, at 12, lns. 15-25.
     51
          Ex 16: Declaration of BRPD Capt. Judd Wiedeman.
                                                12
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A.        That, like I said, I'm not privy to all of that, but I know that when we had our briefing
          about getting ready for the protest, we were told during that briefing that DeRay
          McKesson, and I'd never heard his name really before that, so I didn't keep up with
          it, but that's the first I heard his name, but that he was leading the protest and was
          on his way to Baton Rouge to meet with New Black Panther Party and some
          activists from Baton Rouge.52
                                                   ****
          Ex 1: Ford, at 33, lns. 6 - 19:

A.        From what they told us, the informant told them that they wanted to try to overwhelm
          the police department with numbers, that they had several coming from out of state
          or that was already there, I guess, but they were going to block that highway right
          in front of the police department, which is Airline Highway, and that they -- they
          wanted to cause a response from the police department, and told us, you know, be
          careful and make sure that laws were being broken if we were going to make
          contact with the protesters, you know, that kind of information, and that they were
          looking to get . . .

          Ex 1: Ford, at 35, lns. 6 - 15:

A.        Yes, sir, I see what you're saying. The best I can remember, when the protest
          actually started and people were gathering up, we were called on the radio and told
          to report back to the police department. My team showed back up to the police
          department, and that's when we were told, hey, you know, they're gathering up, so
          we started getting ready for them blocking highways, because we was already told
          they was going to block highways.

          There were multiple photographs taken as the crowd was building and into the night

when the protesters began marching toward I-12. There are photos of objects being

thrown and in the street from having been thrown throughout the day and into the night.53

          Besides Black Panthers bearing guns, there were people in the crowd with

weapons.54 Ex 1: Ford, at 36, lns. 2 - Page 37, ln. 25:

Q.        Okay. During the protest, did you ever see Mr. McKesson?
A.        Yes, sir, several times.
Q.        All right. Tell me about that. Where did you see him?
A.        The first time I saw him was when they were out into the road blocking Airline
          Highway. And throughout the protest, he was in the Circle K parking lot and

     52
          Ex 1: Ford, at 18, lns. 4 - 13.
     53
       Exs 17 and 18: Photos of Circle K during the day, protesters in the street, blocking
traffic, objects being thrown, water bottles littering the street, the Circle K crowd at night,
protesters blocking traffic, arrests at the Circle K, arrests at the Nissan dealership, the
preacher on the loud speaker asking BLM to leave. Ex 3-16.
     54
          Ex 25: Photo man with weapon in Baton Rouge Protest crowd.
                                                 13
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          walking down Airline Highway. I saw him downtown, also, at a different time.
Q.        Okay. So let's start with the first time. The first time you saw him was at – did you
          say that was on Airline Highway?
A.        Yes, sir. They was over there on the corner of Goodwood Boulevard, which runs
          beside the police department, and Airline Highway. There's a Circle K there, store.
Q.        Okay. And what was -- what was Mr. McKesson doing?
A.        He was just leading the crowd, just --I know that they were -- he was talking to a lot
          of people. He had New Black Panther Party that was all standing around him. We
          kept a good eye on them because they were all armed. Every one of them had
          guns. And, you know, while I was positioning with my team to move to the corner
          of our police lot, that's when they had all started walking out into the highway. The
          – McKesson, the New Black Panther Party, was all -- they were all in the front with
          the guns, and then, you know, a lot of the crowd followed them out into the
          highway.
Q.        Okay. So how did you -- how did you know that it was Mr. McKesson?
A.        Well, we were shown a picture of him, and plus I kind of did my own research once
          we found out he was coming, I started looking, and we were shown police, not
          police, but the police showed us pictures of him so we would know who he was.

          Ex 1: Ford, at 38, lns. 9 - 17:

A.        Well, the casual conversations, no. There was too much traffic and it was loud out
          there. But I could hear his chants and stuf f like that.
Q.        Okay. What did you hear him say?
A.        The main thing they started off with was no justice, no peace, no racist police. That
          was the main chant that I actually heard him from his own voice say.

          Ex 1: Ford, at 39, lns. 5 -9, lns. 14-20:

A.        No, I heard him when they were -- there were several things that were shouted. I did
          hear him say stuff about racist cops and stuff like, they murdered Alton Sterling, just
          little short quotes type stuff, you know.

A.        Mr. Gibbens, to be honest with you, they said so many things about white police, it
          was just a lot of -- a lot of hatred, you know, a lot of hate speech and stuff towards
          white police. This was hours and hours and hours of stuff, you know, they were --
          they were yelling. I mean –

          McKesson admitted to having an issue with whiteness, white supremacy and

privilege.55 McKesson testified:

Q         Have you given a talk or an interview on whiteness, white supremacy and privilege?
A         Have I ever?
Q         Yes, sir.
A         Yes.
Q         How many times?
A         I do not know the number.


     55
          Ex 2: McKesson, at 21, lns 3-6.
                                                 14
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          Officer John Doe, John Brad Ford, was concerned with the white police hate chants,

taunts and threats, which he interpreted as hate speech.

A         . . . . unless I wrote it down, you know, but he chanted a lot of hate speech towards
          white police officers in particular, a lot of stuff about KKK, that we're just the new
          KKK, and stuff like that. There's a lot of hate speech that I heard. 56
                                                 ****
A.        Every minute they were out there. They threatened to rape our kids, kill us, come
          find us where we lived, stuff like that.
Q.        Was that the locals that were doing this or was it the group that came --
A.        No, that was the out-of-towners. That was the Black Lives Matters that was coming
          in from out of town.
Q.        The ones that DeRay McKesson was leading?
A.        Yes, ma'am.57

          Ex 1: Ford, at 41, lns. 4 - :

Q.        Okay. What did you -- what did you hear him say about KKK?
A.        That, like, the police were the new KKK.

          Ex 1: Ford at 89, lns. 21-Page 90, ln. 1.

A.        They -- they were -- they would chant a lot of different hate speech, but one of the
          things a lot of them were saying was, if you hurt one of us, and I'm assuming they're
          meaning, you know, African-Americans, you hurt one of us, we'll hurt three of you.
          They would say that a lot, stuff like that.

          Ex 1: Ford at 90, lns. 22 - Page 91, ln. 3 and 11.

Q.        Was DeRay McKesson, was he able to see, did you see him in close enough
          proximity that he could see that these people had weapons?
A.        Yes, ma'am. He was standing right with them.
                                              ****
A.        It was very threatening.

          Ex 1: Ford at 92, lns. 14-23:

Q.        Tell us about that. How did you go about approaching these people who were
          armed with weapons and trying to disarm them in this crowd?
A.        We were told that, you know, if they're committing a crime, that we were to disarm
          them and arrest them. So once they started blocking the highways, they were
          committing a crime, so we did make arrests and we disarmed these people and
          arrested them on the spot. 58

     56
          Ex 1: Ford, at 40, lns. 18-23.
     57
          Ex 1: Ford, at 89, lns. 2 - 12.
     58
    McKesson claims that 185 persons were arrested. See McKesson v. City of Baton
Rouge, 16-520 RD 1, at 9, ¶30.
                                                15
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          Ex 1: Ford at 41, lns.19-23:

Q.        Was he doing anything else?
A.        No, sir. Just, you know, I think he was getting them ready to walk into the highway
          about the time that I was walking up to them, the corner of the police department.

          Ex 1: Ford, at 42, lns. 1-6 and 14 - Page 43, ln. 5:

A.        Well, they were following him all over the area. I mean, anywhere he was going,
          they were following with him. And when he walked up to the New Black Panther
          Party, you know, a crowd walked with him to them, and they stopped and conversed
          for -- and, like I said
                                               ****
A.        He was directing them with his body language moving around. They were moving
          with him. They just followed him and New Black Panther Party when they walked
          out to the highway.
                                               ****
A.        Well, you know, just -- just by his body language, you know, of him moving people
          from one area to the next, and once they moved to where the Black Panthers were,
          like I said they stopped there, but everybody was following him, and the New
          Black Panther Party and him, when they started moving back out towards the road,
          they all -- the whole crowd started following him.

          Ex 1: Ford, at 78, lns. 20- Page 79, ln. 5

A.        I've had several that -- a couple I knew personally from working at the Baton Rouge
          Police Department, but there were several out there just telling me that they were
          sorry about all this, that they wanted to protest the injustice, but they didn't want to
          commit crimes, and that they asked DeRay to go home personally and that he
          refused to go home, that they did not want them from -- all the people from out of
          town that was coming, they wanted them to leave.

          Mr. McKesson knew that communities feared him. In 2015, South Carolina locals

asked DeRay to go home due to their concern of the potential for looting and violence by

BLM protesters.59 Ex 1: Ford, at 79, ln. 15 - Page 80, ln. 2:

A.        You know, like, we also had a black pastor that came out and talked to the
          protesters by loudspeaker, we gave him a loudspeaker, and he was telling them to
          go home, too, but some of the protesters that I spoke with that were friendly, they
          just kept apologizing for all the out-of-towners. They said, this is not Baton Rouge
          way, this is not our way, we didn't want them here and we wanted them to leave and
          we asked them to leave and they wouldn't leave, and they, you know, told us that
          they planned on being violent.

          Ex 1:Ford, at 80, ln. 21-24:


     59
       Ex 26: DeRay McKesson Responses to Plaintiff’s Second Set of Interrogatories,
Interrogatory No. 6, at 5. Ex 28 and Ex 29 related articles.
                                                 16
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A.   The Black Lives Matter protesters that were coming into Baton Rouge was telling
     the locals that they were being paid to come there.

     Ex 1:Ford, at 43, 18-Page 44, ln. 3:

Q.   Okay. When you say "not personally," are you -- have you been told by anybody
     else that they saw -- they saw him throwing things or directing people to throw
     things?
A.   When I say "not personally," I mean I didn't see him do it, but, yes, I did hear them
     say that he was directing the crowd and that he was kind of agitating the crowd to
     do.

     Ex 1:Ford, at 44, at 1-3 and 17-20:

A.   . . . . .certain things, to commit crimes and stuff, as far as walking out into the road,
     but I wasn't standing there like other cops were.

     . . . they were talking about how DeRay was agitating the crowd to do certain
     chants, he was agitating the crowd to move out into the highway to block traffic, and
     so forth.

     Ex 1:Ford, at 41, lns. 13-23:

Q.   Okay. All right. So you first saw him at the corner of Goodwood and Airline, and at
     that time he was with the members of the New Black Panther Party and talking to
     a lot of people. I think that's what you said at that point. Was he doing anything
     else?
A.   No, sir. Just, you know, I think he was getting them ready to walk into the highway
     about the time that I was walking up to them, the corner of the police department.

     Ex 1: For at 49, lns. 22-24

A.   When I first saw him, he was in the parking lot.
Q.   The Circle K parking lot?
A.   Yes, sir.

     Ex 1:Ford, at 42, lns. 1 -10 and 14-18.

A.   Well, they were following him all over the area. I mean, anywhere he was
     going, they were following with him. And when he walked up to the New Black
     Panther Party, you know, a crowd walked with him to them, and they stopped
     and conversed for -- and, like I said, I don't know what he said, it was too loud, you
     know, too much noise, but after a short little time that they stood there is when they
     all walked out into the highway.
                                          ****
A.   He was directing them with his body language moving around. They were moving
     with him. They just followed him and New Black Panther Party when they walked
     out to the highway.

     Ex 1:Ford, at 48, lns. 3 -8:

A.   I don't remember anybody telling me that they saw him throw anything. They -- I

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         know I personally saw him with a water bottle in his hand, but I never saw him
         throw a water bottle. But as far as anybody saying they saw him throw anything.

         F.     McKesson threw a water bottle

         As set forth above, Officer John Doe, John Brad Ford, saw DeRay McKesson walk

over and retrieve a water bottle from the stack looted from the Circle K. DeRay McKesson

testified that if he had a bottle of water, he would not have drank the water or carried it with

him during the protest.60 One may infer that McKesson likely threw his bottle of water at

police along with the other protesters.

         G.     McKesson leading protestor to and from I-12 when arrest occurred and
                Officer Doe injured

         Mckesson led the protestors to block the public highway, Mckesson, 71 F.4th at 289,

which would be his own negligent, illegal action (not speech or advocacy),and the ‘but for”

cause of the police confrontation. McKesson readily admits that he had been marching

toward I-12 on Airline Hwy, with a large group behind him, when he was turned around on

Airline by police.61 After being turned around attempting to reach I-12, McKesson was

marching back to the BRPD when he staged his own arrest. This took place during 10 and

11 p.m., which is the exact same time frame when Officer John Doe was arresting a

protestor, who was attempting to march down Airline Hwy in the street toward I-12.

         Ex 2: McKesson at 77, ln. 13 - 23:

A        That is not -- in the video I’m arrested – this is why I made the video, because they
         told me to get out of the street and I was getting out of the street, so I haven’t
         seen that part of the video because I lived that part.
Q        We’ve seen the entire video, sir, so let’s go back over it again.· You were marching
         towards I-12 correct?
A        I believe that is the name of the highway, but sure, yes.

         Ex 2: McKesson, at 80, lns. 20-23:

    60
         Ex 2: McKesson, at 97, ln. 25 - Page 98, ln. 20.
    61
      The offense of “aggravated obstruction of a highway of commerce,” a violation of La.
R.S. 14:96. The statute defines this offense as “the intentional or criminally negligent
placing of anything, or performance of any act, on any ... road, highway, [or] thoroughfare
... where it is foreseeable that human life might be endangered.”
                                              18
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Q         Okay.· So if there’s a large group behind you, your testimony is that you were not
          leading them, but they were just following behind you?
A         Absolutely.· Correct.· I was not leading them.

          Ex 2: McKesson, at 90, ln 24 - 91, ln. 3:

Q         Did you go down Airline Highway and turn around and go back towards the police
          department before you were arrested?
A         I was turning around and walking back towards the police department when I was
          arrested.

          Ex 1: For at 48, ln. 16 - Page 49, ln. 9.

Q.        Okay. Did anybody tell you that they heard him telling people to go out into the –
          into Airline Highway?
A.        Yes.
Q.        Okay. And who was that?
A.        About half the Shield Team, I guess. I don't know names specifically, but there were
          several people out there when he was telling them to block the roads that they
          heard DeRay say -- telling people to block the road?
A.        Yes, to go out into Airline Highway.
Q.        So let me just make sure we're clear on what it was that he said. Was he telling
          people to go out into Airline Highway or was he telling people to block the road?
A.        Go out and to block the traffic coming down Airline Highway.

          The Baton Rouge Police warned the protestors before they started making

arrests.62

Q.        Okay. Okay. And what kind of things were said over these loudspeakers to notify
          the crowd and to give them a warning?
A.        We just told them that if they walked out into the highway, that they would be
          arrested for blocking traffic and that -- I remember them telling the actual law as
          far as the statute, Louisiana statute, they read the statute out loud and told them
          that we were going to be enforcing that and they were not going to be permitted to
          block traffic.

          Ex 1:Ford, at 74, lns. 1-19.

A.        Well, they're going to deny it, Ms. Donna, but Black Lives Matter went and they
          looted the store, the Circle K. We watched them loot it, and I know it's on video, and
          I don't know why we can't get a copy of it, but it was on video, but --
Q.        Where was DeRay during this looting of the Circle K?
A.        I remember him walking back and forth. I don't know if he went inside the -- I lost
          him a few times, but I know he was in the parking lot while it was -- you know, the
          store was being looted. They brought several cases of water out back towards the
          corner closest to Airline Highway and Goodwood.
Q.        Is that where DeRay got his bottle of water, from the cases that they sat down by
          the corner?

     62
          Ex 1:Ford, at 82, lns. 17 - Page 83, ln. 2.
                                                 19
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A.        Yes, ma'am.

          Mr. DeRay McKesson placed himself at the corner of the Circle K at or about the

same time the water bottles were looted.              When Officer Doe last saw McKesson,

McKesson left the Circle K parking lot and was “walking down Airline Highway.”63 Officer

Doe was struck in his head with an object thrown by the protester while making an arrest

of a protestor attempting to follow McKesson to I-12. Doe testified he was struck between

10 and 11 p.m.. McKesson was arrested around 11:00 p.m.64 McKesson started at the

corner of Goodwood at the Circle K and then moved from there leading a crowd down

Airline toward I-12. Once access to I-12 was blocked by Officer Jason Acree and other

officers, McKesson was turned around and was walking back down Airline toward the

BRPD when he too was arrested walking in the travel lane of Airline Hwy.65 McKesson live

streamed his arrest.66

          Of his arrest, McKesson blamed the police making arrests of protesters of provoking

protestors. He commented that “he and others jailed remained committed to the Black

Lives Matter movement and would continue to use civil disobedience to make their points.”

Using “civil disobedience” was the pattern and practice of BLM and of McKesson to engage

police. During his arrest while walking in the highway McKesson told his viewers, ”Watch




     63
          Ex 1:Ford, at 36, lns. 7-11; at 49, lns. 21-24.
     64
          Ex 2: McKesson, at 92, lns. 12 - Page 98, ln. 1.
     65
      Ex 2: McKesson, at 85, lns. 12-13 (began marching toward I-12 from BRPD); at 86,
lns. 5-7 (police shut down area); at 90, lns. 7011, went from corner of Goodwood down
Airline Shy towards interstate); at 91, lns. 2-4 (he had turned around and was walking back
toward BRPD when he was arrested). Ex 1 from deposition. See also, Page 79, lns. 23-14
(started at BRPD on Airline); at 79, lns. 1-4 and 12-20 (walking away from BRPD on Airline
Hwy); at 76, lns. 25 - Page 77, ln. 2 (he had been turned around and aw ay from the I-12
interstate when he was arrested walking back down Airline).
     66
          Ex X: Video made by McKesson live streaming his arrest. (Manual attachment)
                                                 20
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the police, they are just literally provoking people.”67

          Ex 1:Ford, at 47, lns. 21 -24.

A.        About half the Shield Team, I guess. I don't know names specifically, but there were
          several people out there when he was telling them to block the roads.

          Ex 1:Ford, at 49, lns. 3-10.

A.        Yes, to go out into Airline Highway.
Q.        So let me just make sure we're clear on what it was that he said. Was he telling
          people to go out into Airline Highway or was he telling people to block the road?
A.        Go out and to block the traffic coming down Airline Highway. But as far as
          specifically how he worded it, I'm not sure.

          Ex 1:Ford, at 48, lns. 3-9.

A.        I don't remember anybody telling me that they saw him throw anything. They -- I
          know I personally saw him with a water bottle in his hand, but I never saw him
          throw a water bottle. But as far as anybody saying they saw him throw anything, I
          don't have anybody that told me that that I -- that I remember.

          Ex 1:Ford, at 88, lns. 11-19

Q.        What about the criminal activity, did you ever see him encouraging people to violate
          the law by getting in the highway and blocking cars?
A.        Yes, ma'am. He -- he led them a couple of times out into the road, which is a
          violation of the law, so that's -- that's encouraging them to follow him and
          breaking law.

          Ex 1:Ford, at 87, lns. 21 -24, Page 88 lns. 2-9.

Q.   Was it your opinion, with the command and control that you observed DeRay
     exercising over this crowd, that he could have stopped this?
A    Yes, ma'am, he could have -- he could have told them to stop.
BY MS. GRODNER:
Q.   Do you think -- do you think that his followers would have listened to him?
MR. GIBBENS:
     Objection.
A.   Yes, ma'am. He's the leader.

          The live stream shows DeRay McKesson leading a group up Airline and after his

arrest, the BLM leaders that were with McKesson immediately began making calls to have

DeRay bailed out and they remained in contact with the BLM followers who were watching

the live stream.

     67
       See Ex 14: DeRay McKesson, Arrested in Baton Rouge. See manual attachment
of arrest.
                                               21
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     Ex 1:Ford, at 83, ln. 23 - Page 84, ln. 25:

Q.   Now, you talked about being on Goodwood and Airline at the corner of the Circle
     K when the looting took place and you saw DeRay McKesson two minutes before.
     Approximately how many feet away from him were you when you saw him with the
     water bottle?
A.   I was probably about 20 feet from him and he was probably about 10 or 15 feet from
     the cases of water.
Q.   Did you ever hear him order the crowd to stop throwing those water bottles?
A.   No, ma'am.
Q.   Did you ever hear him at any time or see him or get the idea that he was trying to
     damp things down, calm things down, encourage people to stop violating the law?
A.   No, ma'am.
Q.   Did you ever see him at any time try to encourage people to stop throwing objects
     at police?
A.   No, ma'am.
Q.   Now, were there -- this happened during the evening hours, you said, between --
     after ten o'clock. Were there times during the day that things were being thrown --
A.   Yes, ma'am.

     Ex 1: Ford, at 85, lns. 3 -19:

A.   Yes, ma'am. That's been several different, I guess you could call it almost in
     phases that they were enticing the police, you know, they would step out into the
     road, and then when we started to come around to push them back, they'd -- they'd
     jump back into the parking lot, but when we'd get back over in front of them, they'd
     start throwing bottles and -- not just bottles, just all kind of stuff, trash and, you
     know, some rocks were thrown, I believe, and -- but this happened several times.
Q.   Was DeRay -- was there some reason why he couldn't see what was going on or
     was he in a position where he could observe all this?
A.   Yeah, he was always on the front line, so he could see.

     Ex 1: Ford, at 86, lns. 13-24:

Q.   You could see him, correct, with your own eyes?
A.   Yes, ma'am.
Q.   Okay. So you're not guessing about anything? This is something you witnessed,
     correct?
A.   Yes, ma'am.
Q.   And so he was aware that the crowd had been throwing things at police all
     day, correct?
A.   Yes, ma'am.

     Ex 1:Ford, at 87, lns. 2-20:

Q.   And these guys that had shields, when you were behind them, could you hear
     things bouncing off their shields?
A.   Yes, ma'am.
Q.   What was that like? Tell us what that was like.
A.   Just sounded like objects, you know, hitting the -- hitting the plastic, and so that, you
     know, you could tell that it was stuff being thrown, and then some of the things were
     coming over the top of them, so they was coming back toward the back.

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Q.    And that was something that had been going on for several hours?
A.    Yes, ma'am. Like I said, it was kind of in phases. It didn't happen the whole time of
      the protest, just different parts of the day and night they -- they started throwing
      things.

      Ex 1:Ford, at 50, lns. 5 -Page 51, ln. 1.

Q.    Okay. So that -- All right. When was it -- at some point I think you were -- you were
      hit with something, a rock or a piece of concrete or something?
A.    Yes, sir.
Q.    Okay. When did that happen?
A.    That was late in the evening. I believe it's going to be between 10:00 and 11:00 p.m.
Q.    Okay. Do you know where Mr. McKesson was at that time?
A.    He was in the crowd. I had just seen him probably two minutes before that
      happened, but as far as exactly the exact time, I don't know where he was standing
      in the crowd.
Q.    Okay. And this -- at this point, where were you?
A.    We were behind the shield guys and, like I say, we was on the Arrest Team, so we
      were arresting agitators, and I had just went into the crowd to make an arrest when
      I got hit.

      Ex 1:Ford, at 51, lns. 4-14, and 18- page 52, ln. 11.

A.    Oh, I'm sorry. This was -- we were standing on Airline Highway pushing the crowd
      back into the Circle K parking lot.
Q.    Okay. And you were -- and you said you were going to -- you were going in to make
      an arrest and that's when you got hit in the head?
A.    Yes, sir.
Q.    Okay. And did you actually -- did you arrest anybody at that time?
A.    Yes, sir.
                                           ****
A.    Basically, we -- there was a lot of stuff being thrown into the roadway and in our
      direction, toward the police from that parking lot. We were identifying agitators, and
      so we had people, like my sergeant, telling us when to go in to make the arrest. We
      would -- we would actually point out who we was going to get based on who was
      agitating the crowd. -- the shields opened, I went into the crowd, and I had to chase
      my guy just a little ways. I caught him in kind of like a bear hug-type hold and was
      bringing him back towards the shields, back into the highway to get behind the
      shield guys, and I looked back for a second to make sure nobody was running at
      me. There was people running everywhere at this time. It was very chaotic. When
      I turned and looked backward, back behind me, that's when I got hit in the -- in the
      face.

      The testimony from both Officer Doe and McKesson is clear that McKesson started

at the Circle K and then marched down Airline Hwy towards I-12 until he was turned

around. McKesson was arrested around 11 p.m., shortly after Officer Doe had been struck

in the head, while making an arrest on Airline.

      It was patently foreseeable that the Baton Rouge police would be

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           required to respond to the demonstration by clearing the highway and,
           when necessary, making arrests. Given the intentional lawlessness of this
           aspect of the demonstration, Mckesson should have known that leading the
           demonstrators onto a busy highway was likely to provoke a
           confrontation between police and the mass of demonstrators, yet he
           ignored the foreseeable danger to officers, bystanders, and demonstrators,
           and notwithstanding, did so anyway. Mckesson, 945 F.3d at 827.

4.         Conduct in question was cause in fact

           Cause-in-fact is a jury question.68 Mckesson led the protestors to block the public

highway, Mckesson, 71 F.4th at 289, which would be his own negligent, illegal action (not

speech or advocacy),and the ‘but for” cause of the police confrontation for himself and

those protestor he was leading.69 In Doe v. McKesson, 2021-00929 (La. 3/25/22), 339 So.

3d 524, 532, the Louisiana Supreme Court found:

           Officer Doe has also plausibly alleged that Mckesson's breach of duty was
           the cause-in-fact of Officer Doe's injury and that the injury was within the
           scope of the duty breached by Mckesson. It may have been an unknown
           demonstrator who threw the hard object at Officer Doe, but by leading
           the demonstrators onto the public highway and provoking a violent
           confrontation with the police, Mckesson's negligent actions were the
           “but for” causes of Officer Doe's injuries. See Roberts v. Benoit, 605
           So.2d 1032, 1052 (La. 1992) (“To meet the cause-in-fact element, a plaintiff
           must prove only that the conduct was a necessary antecedent of the
           accident, that is, but for the defendant's conduct, the incident probably
           would not have occurred.”). Furthermore, as the purpose of imposing a
           duty on Mckesson in this situation is to prevent foreseeable violence to the
           police and bystanders, Officer Doe's injury, as alleged in the pleadings, was

     68
      “As correctly noted by Mr. Stelly, the jurisprudence has held that “cause-in-fact and
legal cause are generally questions for the jury. The exception is when, under the
uncontested facts, reasonable minds could not differ.” Blanchard v. Mitchell, 17-444, p. 4
(La. App. 3 Cir. 6/12/17), 233 So.3d 719, 722 (quoting Nicholson v. Calcasieu Parish Police
Jury, 96-314, p. 6 (La. App. 3 Cir. 12/11/96), 685 So.2d 507, 511), writ denied, 17-1372
(La. 11/6/17), 228 So.3d 738. Despite the trial court and Defendants' assertion that
numerous facts are “undisputed” or “non-issue[s],” the record on appeal is rife with
contested facts and inconsistent testimony, the resolution of which requires a reasonable
trier of fact to weigh conflicting evidence, thus precluding the granting of summary
judgment.” Stelly v. Nat'l Union Fire Ins. Co., 2018-293 (La. App. 3 Cir. 2/6/19), 266 So.
3d 395, 404.
      69
         Ex 1:Ford, at 36, lns. 9-11 (“And throughout the protest, he was in the Circle K
parking lot and walking down Airline Highway.”); at 37, lns. 5-8 (“And, you know, while I
was positioning with my team to move to the corner of our police lot, that's when they had
all started walking out into the highway.”); at 49, lns. 21-24 (“Q. Okay. And then you saw
him walking down Airline? A. Yeah. That was much later in the -- in the evening.”).
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       within the scope of the duty of care allegedly breached by Mckesson.

       The amended complaint only bolsters these conclusions. It specifically
       alleges that Mckesson led protestors down a public highway in an attempt to
       block the interstate. The protestors followed. During this unlawful act,
       Mckesson knew he was in violation of law and livestreamed his arrest.
       Finally, the plaintiff's injury was suffered during this unlawful action. The
       amended complaint alleges that it was during this struggle of the protestors
       to reach the interstate that Officer Doe was struck by a piece of concrete or
       rock-like object. It is an uncontroversial proposition of tort law that
       intentionally breaking, and encouraging others to break, the law is
       relevant to the reasonableness of one's actions.

       McKesson’s only defense for leading protestors onto Airline Hwy was the lack of

sidewalks along Airline Hwy, McKesson v. City of Baton Rouge, 16-520 8/4/16 RD 1, ¶ 25,

writing:

       Defendants ordered class members to walk on the sidewalks, and to
       not walk in the street. This order was unreasonable and placed citizens
       walking along Airline Highway and other streets in danger, because those
       streets do not have sidewalks and the adjacent areas were uneven or not
       mowed and contained hazards that could not be seen. [Emphasis added]

       Ex 2: McKesson, at 77, lns. 14-19:

A·     That is not -- in the video I’m arrested – · · · ·this is why I made the video, because
       they told me to get out of the street and I was getting out of the street, so I
       haven’t seen that part of the video because I lived that part.

       Ex X: McKesson, at 78, lns. 21-25:

Q      Did it matter to you whether or not there were sidewalks?
A      No.
Q      So you started at the police headquarters. Correct?· On Airline Highway.
A      Yes.

       Ex 2: McKesson, at 79, lns. 12-20

A      So remember that -- I thought you said you saw it, but remember that night we
       started at the police station.· Nobody was in the street and then the protest
       marched to Airline Highway and so that’s when people were in the street and
       so I was there for both.· I was not in the street.· Nobody was in the street at the
       police department and then after people left the police department we were in the
       street. [Emphasis added]

       But for the pattern of BLM organizing its protests on city streets without a permit in

violation of local laws with the intention of engaging police, the injuries in this case would

not have occurred. “Nonetheless, inasmuch as the sheriff's actions can be said to have

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appreciably enhanced the chance of the accident occurring, they are a cause-in-fact of the

accident. Pierre v. Allstate Insurance Co., 257 La. 471, 242 So.2d 821, 831 (1970), on

rehearing; see also, Wex Malone, Ruminations on Cause–in–Fact, 9 Stan.L.Rev. 60, 74

(1956).” Roberts v. Benoit, 605 So. 2d 1032, 1052 (La. 1991), on reh'g (May 28, 1992).

       Cause-in-fact, by definition, is a question of fact. As the Louisiana Supreme Court

has explained,

       Defendant's conduct need not be the sole cause of the harm but it must be
       a necessary antecedent. Stated another way, if plaintiff can show that
       more probably than not he would not have suffered damage, absent
       defendant's wrongful conduct, he has carried his burden of proving
       cause in fact. Morris v. Orleans Par. Sch. Bd., 553 So.2d 427, 429 (La.
       1989) (quoting Gibson v. Faubion Truck Lines, Inc., 427 So.2d 68, 71 (La.
       App. 4 Cir. 1983). “There can be more than one cause in fact of an accident
       as long as each cause bears a proximate relation to the harm that occurs
       and it is substantial in nature.” Vodanovich v. A.P. Green Indus., Inc.,
       03-1079, p. 3 (La. App. 4 Cir. 3/3/04), 869 So.2d 930, 932. Where multiple
       causes are present, “a defendant's conduct is a cause-in-fact if it is a
       substantial factor generating plaintiff's harm.” Rando, 16 So.3d at 1065. The
       substantial factor test works well where there are multiple causes-in-fact, but
       the trier of fact may not be able to conclude that the accident would more
       probably than not have happened “but for” any one of the causes. Frank L.
       Maraist & Thomas C. Galligan, Louisiana Tort Law, § 4-3 (1996).70

       “There can be more than one cause-in-fact of an accident as long as each
       cause bears a proximate relation to the harm that occurs and it is substantial
       in nature. A plaintiff seeking to recover under either negligence or strict
       liability theories must prove that the negligent act or defect complained of
       was a cause-in-fact of the injury. Davis v. State Farm Ins. Co., 558 So.2d
       636 (La. App. 1 Cir.1990).” Elaborating on that pronouncement of law,
       we stated negligent conduct is a substantial factor if the harm would
       not have occurred without the conduct, i.e., but for defendant's
       conduct, plaintiff would not have sustained injury. Thereby, we equated
       the two concepts of substantial factor and necessary antecedent. Malone,
       Ruminations on Dixie Drive It Yourself Versus American Beverage Company,
       30 La.L.Rev. 363, 373 (1970). [Emphasis added]


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      Stelly v. Nat'l Union Fire Ins. Co., 2018-293 (La. App. 3 Cir. 2/6/19), 266 So. 3d 395,
404. See also, Rando v. Anco Insulations Inc., 2008-1163 (La. 5/22/09), 16 So. 3d 1065,
1088, abrogated by Pete v. Boland Marine & Mfg. Co., LLC, 2023-00170 (La. 10/20/23);
Dixie Drive It Yourself System v. American Beverage Co., 242 La. 471, 137 So.2d 298, 302
(1962), (“conduct is a cause-in-fact of harm to another if it was a substantial factor in
bringing about that harm.”); Davis v. State Farm Ins. Co., 558 So.2d 636 (La. App. 1
Cir.1990); Malone, Ruminations on Dixie Drive It Yourself Versus American Beverage
Company, 30 La.L.Rev. 363, 373 (1970).
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       McKesson led protestors onto the highway in violation of law, which is the reason

that Officer Doe, John Brad Ford, was required to make arrests.

5.     The risk of harm was within the scope of the duty

       In Doe v. McKesson, 2021-00929 (La. 3/25/22), 339 So. 3d 524, 532, the Louisiana

Supreme Court found:

       Officer Doe has also plausibly alleged that Mckesson's breach of duty was
       the cause-in-fact of Officer Doe's injury and that the injury was within the
       scope of the duty breached by Mckesson. It may have been an unknown
       demonstrator who threw the hard object at Officer Doe, but by leading the
       demonstrators onto the public highway and provoking a violent confrontation
       with the police, Mckesson's negligent actions were the “but for” causes of
       Officer Doe's injuries. See Roberts v. Benoit, 605 So.2d 1032, 1052 (La.
       1992) (“To meet the cause-in-fact element, a plaintiff must prove only that
       the conduct was a necessary antecedent of the accident, that is, but for the
       defendant's conduct, the incident probably would not have occurred.”).
       Furthermore, as the purpose of imposing a duty on Mckesson in this situation
       is to prevent foreseeable violence to the police and bystanders, Officer Doe's
       injury, as alleged in the pleadings, was within the scope of the duty of care
       allegedly breached by Mckesson.

       McKesson is not claiming that the harm was not within the scope of the risk created

by the breach of the duty.

                                      CONCLUSION

       McKesson is liable to Officer Doe, John Brad Ford, for McKesson’s personal

conduct and tortious actions: “negligently organizing and directing a protest in an unsafe

manner, such that it was reasonably foreseeable for the police to respond, and violence

to ensue. Nothing in the First Amendment prohibits such liability.” Mckesson, 71 F.4th at

284.

                                          Respectfully submitted:

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                             CERTIFICATE OF SERVICE

      I hereby certify that on February 21, 2024, a copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system.

                                               s/ Donna U. Grodner
                                               Donna U. Grodner (20840)




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